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                              Exhibit Q
    (Columbia University, Marta Galanti & Jeffrey Shaman; and
                  MIT Tech, Antonio Regalado)
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 1               Direct observation of repeated infections with endemic

 2                                         coronaviruses

 3

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23     Abstract

24

25     Background

26

27     While the mechanisms of adaptive immunity to pandemic coronavirus SARS-CoV-2 are still

28     unknown, the immune response to the widespread endemic coronaviruses HKU1, 229E, NL63

29     and OC43 provide a useful reference for understanding repeat infection risk.

30

31     Methods

32

33     Here we used data from proactive sampling carried out in New York City from fall 2016 to

34     spring 2018. We combined weekly nasal swab collection with self-reports of respiratory

35     symptoms from 191 participants to investigate the profile of recurring infections with endemic

36     coronaviruses.

37

38     Findings

39

40     During the study, 12 individuals tested positive multiple times for the same coronavirus. We

41     found no significant difference between the probability of testing positive at least once and the

42     probability of a recurrence for the beta-coronaviruses HKU1 and OC43 at 34 weeks after

43     enrollment/first infection. We also found no significant association between repeat infections and

44     symptom severity but strong association between symptom severity and belonging to the same

45     family.



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46

47     Interpretation

48

49     This study provides evidence that re-infections with the same endemic coronavirus are not

50     atypical in a time window shorter than 1 year and that the genetic basis of innate immune

51     response may be a greater determinant of infection severity than immune memory acquired after

52     a previous infection.

53

54     Funding

55

56     This work was supported by the Defense Advanced Research Projects Agency contract

57     W911NF-16-2-0035.

58

59     Research in Context

60

61     Evidence before the study

62

63     The endemic coronaviruses OC43, HKU1, 229E and NL63 produce widespread infections in the

64     general population. Serological and experimental studies have shown that a majority of the

65     individuals presents a baseline level of antibodies against these coronaviruses and that

66     subsequent reinfections with the same type are possible.

67

68     Added value of this study



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69

70     Through direct measurement of natural coronavirus infections in a cohort of children and adults,

71     this study confirms the findings of prior serological and experimental studies, and enables

72     quantification of the likelihood and timing of re-infections. Moreover, the design of the study,

73     coupling weekly testing (irrespective of symptom status) with self-report of daily symptoms

74     from the participants, shows that reinfection events within a year after a previous documented

75     infection are not associated with diminished symptom severity. Finally, the study shows

76     correlation in symptom severity across subsequent infections for the same individuals and for

77     individuals belonging to the same family, suggesting a strong genetic determinant of immune

78     response.

79

80     Implication of all available evidence

81

82     The results of this study, together with previous serological and experimental studies, provide

83     evidence that immunity developed upon infection with endemic coronaviruses is short-lived and

84     re-infection is common within one year. These findings, as well as findings for SARS and

85     MERS, provide context for understanding protective immunity against repeat SARS-CoV-2

86     infections.

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92      Background

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94      The new coronavirus SARS-CoV-2 appears to have emerged in humans in the Hubei province of

95      China during November 2019 [1]. Human to human transmission was confirmed in early

96      January, and since then the virus has rapidly spread to all continents. The outbreak was declared

97      a pandemic by the WHO on March 11th. As of April 10th, it had spread to over 180 countries

98      with 1,521,252 confirmed cases and 92,798 deaths reported [2].

99

100     Symptoms associated with SARS-CoV-2 vary from none to extremely severe, with elder adults

101     and people with underlying medical conditions more at risk for developing severe and potentially

102     fatal disease [3]. At present, there is no vaccine or approved antiviral treatment for SARS-CoV-

103     2, and therapies rely principally on symptom management. Many institutions across the world

104     are working to develop a SARS-CoV-2 vaccine, and clinical trials with some vaccine candidates

105     have already begun [4].

106

107     As the pandemic progresses, infecting millions of people across the world, a key question is

108     whether individuals upon recovery are prone to repeat infection. A recent animal challenge study

109     showed evidence of (at least) short-term protection against re-infections in rhesus macaques

110     experimentally re-infected 4 weeks after first infection [5]. Typically, infections by different

111     viruses trigger different adaptive immune responses: viruses like measles elicit life-long

112     immunity; whereas others, like influenza, do not. Two main processes appear to be responsible

113     for the short-lived immunity engendered against some pathogens: 1) waning of antibodies and




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114     memory cells in the host system; and 2) antigenic drift of the pathogen that enables escape from

115     the immunity built against previous strains.

116

117     To contextualize the issue of protective immunity to SARS-CoV-2, we here present findings

118     from a recent proactive sampling project carried out in New York City (NYC) that documented

119     rates of infection and re-infection among individuals shedding seasonal CoV (types: HKU1,

120     229E, NL63 and OC43). The results are discussed and analyzed in the broader context of

121     coronavirus infections.

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124     Methods

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126     Data are derived from sampling performed between October 2016 and April 2018 as part of the

127     Virome project, a proactive sampling of respiratory virus infection rates, associated symptom

128     self-reports and rates of seeking clinical care. We enrolled 214 healthy individuals from multiple

129     locations in the Manhattan borough of New York City. Cohort composition is described in [6]

130     and includes: children attending two daycares, along with their siblings and parents; teenagers

131     and teachers from a high school; adults working at two emergency departments (a pediatric and

132     an adult hospital); and adults working at a university medical center. The cohort was obtained

133     using convenience sampling, and all participants were younger than 65 years. While the study

134     period spanned 19 months from October 2016 to April 2018, some individuals enrolled for a

135     single cold and flu season (October – April) and others for the entire study period. Participants

136     (or their guardians, if minors) provided informed consent after reading a detailed description of

137     the study (CUMC IRB AAAQ4358).

138

139     Nasopharyngeal samples were collected by study coordinators once a week irrespective of

140     participant symptoms. Samples were screened using the GenMark eSensor RVP system for 18

141     different respiratory viruses, including coronavirus 229E, NL63, OC43, and HKU1. Sample

142     collection and extraction followed the same protocol as in [7].

143

144     In addition, participants completed daily self-reports rating nine respiratory illness-related

145     symptoms (fever, chills, muscle pain, watery eyes, runny nose, sneezing, sore throat, cough,




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146     chest pain), each of which was recorded on a Likert scale (0=none, 1=mild, 2=moderate,

147     3=severe), see [6] for further survey details.

148

149     For this analysis, only the 191 participants who contributed at least six separate pairs of

150     nasopharyngeal samples in the same season were included. We defined an infection (or viral)

151     episode as a group of consecutive weekly specimens from a given individual that were positive

152     for the same virus (allowing for a one-week gap to account for false negatives and temporary low

153     shedding). We classified all infection episodes as symptomatic or asymptomatic according to

154     individual symptom scores in the days surrounding the date of the first positive swab of an

155     episode. We used multiple definitions as a standard for symptomatic infection does not exist

156     (Table 1). These symptom definitions are described in reference to a -3 to +7-day window

157     around the date of the initial positive swab for each infection episode. The daily symptom score

158     is defined as the sum of the 9 individual symptoms (range: 0-27) on a given day. Total symptom

159     score is the daily symptom score summed over the -3 to +7-day window.

160

161     We used Survival Analysis methods to estimate the probability of infection (as a function of time

162     from enrollment) and the waning of protective immunity following first infection for each type

163     of coronavirus. Specifically, we used the Kaplan Meier estimator S(t) to estimate 1) the

164     probability of being infected with each coronavirus type and 2) the probability of being re-

165     infected with the same coronavirus type following a previous documented infection. !(#)

166     measures the probability of having tested positive for a given coronavirus type by time t:

                                                                          +,
167                                    !(#) = 1 − ((#) = 1 − ) *1 −          .
                                                                          -,
                                                                /0 1/




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168   Time t is measured in weeks from enrollment in the first analysis and from the previous

169   documented infection with a specific coronavirus type in the second analysis; +, are the

170   participants testing positive i weeks after enrollment (after first infection) and -, are the

171   participants that are still enrolled i weeks after enrollment (after first infection). The denominator

172   -, corrects for participants withdrawing from the study at different time by right censoring.

173

174   The estimators for the probability of infection and reinfection are compared statistically using the

175   log rank test. We used Fisher’s exact test to analyze the difference between symptoms developed

176   during subsequent infections and ANOVA comparison to test differences in symptom scores

177   reported by different family clusters. We restricted the last analysis to the family clusters within

178   the cohort that presented at least 3 coronavirus infections during the study.

179

180   Results

181

182   Among all participants enrolled, 86 individuals tested positives at least once during the study for

183   any coronavirus infection. 48 individuals tested positive at least once for OC43, 31 tested

184   positive for 229E, 15 tested positive for NL63 and 28 tested positive for HKU1. Figure 1 shows

185   a Kaplan-Meier plot estimating the probability of becoming infected with each coronavirus

186   within x weeks following enrollment (see Supplementary Table S1 for the number of individuals

187   infected and censored at each time point). OC43 was the most widely diffused virus: the

188   probability of testing positive following 80 weeks in the study was 0.47. In contrast, NL63 was

189   the least frequently isolated coronavirus type: the probability of testing positive after 80 weeks

190   was 0.17. Among the study participants, 12 individuals tested positive multiple times during the



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191   study for the same coronavirus: 9 tested positive multiple times for OC43, 2 tested positive twice

192   for HKU1, 1 tested positive twice for 229E and nobody tested positive multiple times for NL63.

193   Among the 9 participants with multiple OC43 infections, 3 individuals experienced 3 separate

194   infection episodes, and the other 6 experienced 2 separate episodes. The median time between

195   reinfection events was 37 weeks. The shortest time for a reoccurrence of infection was 4 weeks

196   (OC43), the longest was 48 weeks (OC43). Among the 12 individuals testing positive multiple

197   times for the same coronavirus, 9 were children aged between 1 and 9 years at enrollment, and 3

198   were adults aged between 25 and 34 years (see Supplementary Table S2 for characteristics of the

199   repeated infections).

200

201   Figure 2 shows a Kaplan-Meier plot estimating the probability of becoming re-infected with the

202   same beta-coronavirus (OC43 and HKU1) within x weeks after a previously documented

203   infection (see Supplementary Table S3 for the number of individuals infected and censored at

204   each time point). A comparison between the data shown in Fig 2 and Fig 1 finds no significant

205   differences between the probability of testing positive at least once and the probability of a

206   recurrence for both HKU1and OC43 at 34 weeks after enrollment/first infection.

207

208   To control for false positive PCR results, we tested the sensitivity of the findings to different

209   choices of the positivity threshold used in RVP testing (see Supplementary Text 1 and

210   Supplementary Figures S1 toS 4). The probability of reinfection with beta-coronaviruses at > 38

211   weeks after prior infection was robust across different thresholds, whereas short terms

212   reinfection signals could be an artifact due to PCR amplification. This shifted threshold also




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213   yields a statistically significant difference between the probability of testing positive at least once

214   and the probability of a recurrence after first infection until week 43 (p = 0.04).

215

216   There was no significant difference in the likelihood of experiencing symptomatic infection

217   between the first and subsequent infection episodes by any of the 5 definitions provided in Table

218   1. In particular, all the individuals who were completely asymptomatic during the first recorded

219   occurrence, did not report any symptoms during subsequent infection(s) with the same

220   coronavirus type. However, there was a significant association between severity of symptoms

221   associated with any coronavirus infection and belonging to the same family cluster (p<.0001,

222   one-way analysis of variance). Figure 3 shows the total symptom score associated with any

223   coronavirus infection for infections grouped by family cluster.

224

225   Discussion

226

227   As the SARS-CoV-2 pandemic spreads to millions of individuals worldwide, it is extremely

228   important to understand the mechanisms of protective immunity elicited by infection. Until

229   direct observations of adaptive immune response to SARS-CoV-2 become available, analyses of

230   protective immunity elicited by other coronaviruses may offer useful insights.


231   Several studies in the last four decades have shown that infections with the 4 endemic

232   coronaviruses 229E, OC43, NL63 and HKU are common in the general population [8] [9].

233   Infection with these viruses generally produces mild and even asymptomatic infection [10].

234   Serological studies have shown that more than 90% of the population presents a baseline level of

235   antibodies against these endemic coronaviruses, with first seroconversion occurring at a young


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236   age [11] [8]. Shortly after infection, baseline antibody titers increase sharply; this response has

237   been demonstrated for both natural and experimentally-induced infections [12] [13] [9].


238   Antibody titers start increasing roughly one week following infection, reach a peak after about 2

239   weeks [13], and by 4 months to 1 year have returned to baseline levels [13] [9]. A challenge

240   study [13] showed that the likelihood of developing an infection after inoculation correlated with

241   participants’ concentration of antibodies at enrollment. Moreover, a positive correlation has been

242   shown between antibody rise after infection, severity of clinical manifestation and viral shedding

243   [12], with milder cases linked to less substantial post-infection antibody rises.


244   Instances of natural re-infections with the same virus type have been documented previously [9]

245   in which repeated infections with OC43 and 229E were recorded by serological testing.

246   Subsequent infections were separated by at least 8 months, though study participants were tested

247   every 4 months. Participants in a separate challenge study were inoculated with coronavirus

248   229E and then re-challenged with the same virus after one year [13]. In most cases, re-infection

249   occurred, though it presented with decreased symptoms severity and shortened duration of

250   shedding.

251

252   The adaptive immune response to coronavirus is mainly directed towards the most variable part

253   of the virus, a region that is not conserved across types; consequently, cross-reactive protection

254   between different types does not appear to be an important factor [14, 15]. In addition, the effects

255   of antigenic drift on re-infection have not been elucidated [16] and more studies are warranted to

256   understand whether repeat infections are ascribable to rapid virus evolution rather than a decline

257   in antibody titers.




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258


259   The mild pathogenicity of seasonal coronavirus infection (with immune response often restricted

260   to the upper respiratory trait) is also often regarded as the reason for short-lived immunity.

261   Coronavirus infections, and the adaptive immunity acquired towards them, have also been

262   studied in animals. In a study on porcine respiratory coronavirus (PRCV), which causes

263   subclinical infections in pigs, antibody titers waned approximately one year after experimental

264   infection [17]. In contrast, an experimental study on murine coronavirus (MHV), which produces

265   severe, systemic infections in mice, has shown an interplay between virus-specific antibodies and

266   T cells, that upon survival in the host lead to life-long protection against reinfection [18].

267   Similarly, a longer immunity profile has been hypothesized for SARS and MERS due to their

268   increased severity and to the systemic response that infection induces [14]. Specific antibodies

269   were detectable for at least 2 years in SARS and MERS survivors [19] [20]. Although

270   longitudinal studies on SARS survivors have not detected specific SARS IGG antibody

271   persistence 5 years after infection, they have found that specific memory T cells persist in the

272   peripheral blood of recovered SARS patients, and at higher levels in patients who experienced

273   severe disease [21]. Whether the presence of these memory T cells would be enough to induce a

274   fast, protective response upon reinfection with SARS has not been assessed.


275   Our study confirms that seasonal coronaviruses are widespread in the general population with

276   infections directly documented for a large fraction of the participants in our study. The methods

277   for our analysis are based on the hypothesis that infection probabilities are comparable among

278   participants enrolled at different times in the study. However, the seasonality of endemic

279   coronaviruses, which are mostly absent during the summer months, and the relative magnitude




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280   across years of seasonal coronavirus epidemics are limitations. In US the prevalence of OC43

281   during the 2016-17 season was much higher than during the 2017-18 season, whereas the

282   opposite trend was observed for HKU1 [22]. Moreover, our estimates of infection and re-

283   infection probabilities must be considered as a lower bound, due to the occurrence of weekly

284   swabs missed by the participants and due to the design of the study itself, which may have

285   missed infections of short duration in between consecutive weekly tests. Nevertheless, this study

286   confirms that re-infections with the same coronavirus type occur in a time window shorter than 1

287   year, and finds no significant association between repeat infections and symptom severity.

288   Instead, it provides evidence of possible genetic determinants of innate immune response, as

289   individuals asymptomatic during first infection did not experience symptoms during subsequent

290   infections, and members of the same families reported similar symptom severity. We recognize

291   that the self-reporting of symptoms is an important limitation in this analysis and that parents

292   reported symptoms for their dependents, which possibly introduced bias. Moreover, the majority

293   of the repeated coronavirus infections were found in children, a cohort more vulnerable to

294   infection because of their immature immune system [23], and 26% of the episodes in the

295   repeated infections were co-infections with other respiratory viruses (see Supplementary Table

296   S2). Another potential limitation of our study is the high sensitivity of PCR tests, that can

297   amplify very small amounts of genetic material, possibly not ascribable to active infections.

298   However, the occurrence of repeated infections separated by at least 38 weeks, was corroborated

299   by repeating the analysis with different positivity thresholds for the RVP.

300

301   More studies analyzing the genetic basis of individual response to coronavirus infections are

302   warranted. Even though the endemic coronaviruses are very rarely associated with severe




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303   disease, their widespread diffusion together with the fact that OC43 and HKU1 belong to the

304   same beta-coronavirus genus as SARS-CoV2 offer important opportunities for investigation.

305   Author Statement

306

307   Contributors

308

309   MG and JS conceived and designed the study. MG performed the analysis. JS coordinated the

310   survey and sample data collection for the study. MG wrote the first draft of the manuscript. JS

311   reviewed the analysis and provided feedback on drafts and approved the final version for

312   publication.

313

314

315   Financial support

316   This work was supported by the Defense Advanced Research Projects Agency contract

317   W911NF-16-2-0035. The funders had no role in study design, data collection and analysis,

318   decision to publish, or preparation of the manuscript.

319


320   Conflict of interests


321   JS and Columbia University disclose partial ownership of SK Analytics. JS also discloses

322   consulting for BNI. All other authors declare no competing interests.


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330   Table 1. Definitions of symptomatic infections. All symptom definitions are described in

331   reference to a -3/+7 days window around the date of the initial positive swab for an infection

332   episode. Note, Definition 4 is relative to an individual’s long-term average total symptom score.

333

       Definition 1   At least one day with a daily score >3

       Definition 2   Minimum two individual symptoms >0 and at least one symptom >1

       Definition 3   Total symptom score >9

       Definition 4   Total symptom score greater than twice the weekly average for the infected

                      individual

       Definition 5   Total symptom score >0 (i.e. any reported symptom)

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379                                         Supplementary Material
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381
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383   Table S1: Table with timepoint Kaplan-Meier data for the probability of at least one infection with OC43, HKU1,
384   229E and NL63.
385   Table S2: Characteristics of repeated infections.
386   Table S3: Table with timepoint Kaplan-Meier data for the probability of re-infection with OC43 and HKU1
387   Text S1: Sensitivity to PCR threshold.
388   Figure S1: Probability of having tested positive within x weeks from enrollment, PCR threshold 50nA
389   Figure S2: Probability of a re-infection with the same beta-coronavirus within x weeks from previous infection,
390   PCR threshold 50nA
391   Figure S3: Probability of having tested positive within x weeks from enrollment, PCR threshold 100nA
392   Figure S4: Probability of a re-infection with the same beta-coronavirus within x weeks from previous infection,
393   PCR threshold 100nA
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398
399   Table S1: Kaplan-Meier data for the probability of at least one infection with each coronavirus OC43, HKU1,229E,
400   NL63, as shown in Figure 1. Columns show: the week from enrollment (WEEK), the number of individuals that
401   after i weeks from enrollment have not tested positive yet for each coronavirus (OC43 -, HKU1 -,229-, NL63-), the
402   number of individuals testing positive during week i (OC43 +, HKU1 +,229+, NL63+) and the number of
403   individuals censored after week i (OC43 -CEN, HKU1 -CEN,229-CEN, NL63-CEN).
404
       WEEK     OC43 -        OC43+       OC43-   HKU1 -    HKU1 +   HKU1-   229-         229+   229-       NL63-        NL63+    NL63-
                                          CEN                        CEN                         CEN                              CEN
            1        191              2       0       191        0       0          191      3          0       191          0        0

            2        189              1       0       191        1       0          188      4          0       191          0        0

            3        188              4       0       190        0       0          184      1          0       191          2        0

            4        184              1       0       190        0       0          183      1          0       189          0        0

            5        183              1       0       190        1       0          182      2          0       189          1        0

            6        182              4       0       189        2       0          180      1          0       188          1        0

            7        178              6       2       187        0       2          179      1          2       187          0        2

            8        170              1       2       185        1       2          176      0          2       185          0        2

            9        167              2       6       182        0       6          174      2          6       183          1        6

           10        159              2       6       176        0       5          166      1          6       176          0        6

           11        151              1       1       171        0       2          159      0          2       170          0        2

           12        149              3       4       169        2       4          157      0          3       168          0        4

           13        142              2       2       163        2       3          154      0          3       164          1        3

           14        138              0       2       158        2       2          151      3          2       160          0        2

           15        136              0       1       154        0       3          146      4          2       158          2        3

           16        135              0       6       151        1       5          140      0          5       153          2        6

           17        129              1       5       145        1       4          135      1          4       145          0        5

           18        123              2       4       140        0       3          130      0          4       140          0        4

           19        117              1       8       137        0      10          126      3      10          136          0        9

           20        108              1      14       127        0      14          113      1      13          127          0        14

           21            93           1       2       113        0       4           99      1          3       113          0        4

           22            90           1       1       109        2       1           95      0          1       109          0        1

           23            88           0       2       106        0       4           94      0          2       108          1        2

           24            86           0      11       102        0      10           92      0      11          105          0        11

           25            75           1      10        92        1      10           81      0      12              94       0        12

           26            64           0       8        81        0      11           69      0      10              82       0        11

           27            56           0       2        70        0       2           59      0          2           71       0        2

           28            54           0       3        68        1       2           57      0          3           69       0        3

           29            51           0      13        65        0      13           54      0      14              66       0        13

           30            38           0       0        52        0       0           40      0          0           53       0        0

           31            38           0       0        52        0       0           40      0          0           53       0        0

           32            38           0       0        52        0       0           40      0          0           53       0        0




                                                                                                                                 24
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      33     38     0    0     52     0    0     40   0    0     53    0        0

      34     38     0    0     52     0    0     40   0    0     53    0        0

      35     38     1    0     52     0    0     40   0    0     53    0        0

      36     37     0    0     52     0    0     40   0    0     53    0        0

      37     37     0    0     52     0    0     40   0    0     53    0        0

      38     37     0    0     52     0    1     40   0    1     53    0        1

      39     37     0    0     51     0    0     39   0    0     52    0        0

      40     37     1    0     51     0    0     39   0    0     52    0        0

      41     36     0    0     51     0    0     39   0    0     52    0        0

      42     36     0    0     51     0    0     39   0    0     52    0        0

      43     36     0    0     51     0    0     39   0    0     52    0        0

      44     36     0    0     51     1    0     39   0    0     52    0        0

      45     36     0    1     50     0    1     39   0    1     52    0        1

      46     35     1    1     49     0    1     38   0    1     51    0        1

      47     33     0    0     48     0    2     37   0    1     50    0        2

      48     33     0    0     46     0    0     36   0    0     48    0        0

      49     33     0    0     46     0    0     36   0    0     48    1        0

      50     33     0    1     46     0    1     36   0    0     47    1        1

      51     32     0    0     45     0    0     36   0    0     45    0        0

      52     32     0    1     45     0    4     36   0    1     45    0        4

      53     31     0    0     41     0    0     35   1    0     41    0        0

      54     31     1    0     41     1    1     34   0    0     41    0        1

      55     30     0    0     39     0    0     34   0    0     40    0        0

      56     30     2    0     39     1    0     34   1    0     40    0        0

      57     28     0    0     38     0    0     33   0    0     40    0        0

      58     28     0    1     38     2    2     33   0    3     40    0        2

      59     27     1    0     34     0    0     30   0    0     38    0        0

      60     26     1    1     34     2    1     30   0    1     38    0        1

      61     24     0    4     31     2    4     29   0    2     37    0        4

      62     20     0    2     25     1    4     27   0    3     33    0        4

      63     18     0    0     20     1    1     24   0    1     29    2        0

      64     18     0    0     18     0    0     23   0    0     27    0        0

      65     18     0    0     18     0    0     23   0    0     27    0        0

      66     18     1    1     18     0    1     23   0    1     27    0        1

      67     16     0    0     17     0    1     22   0    0     26    0        1

      68     16     0    0     16     0    1     22   0    1     25    0        1

      69     16     0    0     15     0    0     21   0    0     24    0        0

      70     16     1    2     15     0    1     21   0    4     24    0        5

      71     13     0    1     14     0    1     17   0    4     19    0        3




                                                                           25
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        72     12     0    6     13     0    4     13   0    6     16    0        8

        73      6     0    1      9     0    1     7    0    1     8     0        1

        74      5     0    1      8     0    1     6    0    1     7     0        1

        75      4     0    1      7     0    1     5    0    1     6     0        1

        76      3     0    0      6     0    0     4    0    0     5     0        0

        77      3     0    1      6     0    2     4    0    3     5     0        1

        78      2     0    0      4     0    1     1    0    1     4     0        1

        79      2     0    0      3     0    0     0    0    0     3     0        0

        80      2     0    2      3     0    3     0    0    0     3     0        3

        81      0     0    0      0     0    0     0    0    0     0     0        0


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406   Table S2: Characteristics of repeat infections. Participants are identified by the numbers 1 to 12. Each row describes
407   an infection episode, for episodes lasting multiple weeks we report the first and last positive sample. For each
408   episode, the score is measured as a sum of daily scores across the window -3/+7 days around first positive result.
409   Age is measured at enrollment. Asterisks identify coinfections with other respiratory viruses.
410
       Participant      Age          Episode starts     Episode ends    Virus     Score

           1             1           2/23/17            3/2/17           OC43       0
           1*            1           12/19/17                            OC43       0
           2             25          2/23/17                             OC43       0
           2             25          4/6/17                              OC43       0
           2             25          12/19/17                            OC43       0
           3              3          1/26/17                             OC43       7
           3*             3          12/21/17           12/28/17         OC43       8
           4              1          12/22/16           1/12/17          OC43       11
           4*             1          12/14/17                            OC43       17
           5              9          1/26/17                             OC43       8
           5*             9          4/6/17                              OC43       0
           5              9          12/28/17                            OC43       0
           6             5           2/2/17                              OC43       7
           6             5           12/21/17           12/28/17         OC43       24
           7             31          2/2/17                              OC43       10
           7             31          11/30/17                            OC43       3
           8             2           2/16/17            2/23/17          OC43       0
           8*            2           3/23/17                             OC43       0
           8             2           11/9/17            12/14/17         OC43       0
           9             4           12/28/16                            OC43       1
           9*            4           1/26/17                             OC43       0
          10             1           3/9/17             3/16/17          HKU1       0
          10             1           11/30/17                            HKU1       0
          11             3           11/27/17           12/11/17         HKU1       36
          11*            3           1/23/18                             HKU1       10
          12             34          12/13/16                            229E       3
          12             34          3/1/17                              229E       0
411
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413   Table S3: Kaplan-Meier data for the probability of re-infection with coronaviruses OC43 and HKU1, as shown in
414   Figure 2. Columns show: the weeks from a previous infection (WEEK), the number of participants that after i weeks
415   from previous infection with OC43 (OC43+) and HKU1 (HKU1+) have not yet being re-infected; the number of
416   participants that after i weeks from previous infection test positive for the same virus (RE-OC43, RE-HKU1) and
417   the number of participants censored after i weeks from previous infection (OC43 -CENSORED, HKU1 -
418   CENSORED). Participants testing positive n times during the study are counted n times in this analysis.
419
420
       WEEK            OC43+           RE-OC43        OC43-           HKU1+           RE-HKU1         HKU1-
                                                      CENSORED                                        CENSORED
                   1              60              0               2              30               0              2

                   2              58              0               1              28               0              0

                   3              57              0               0              28               0              1

                   4              57              0               2              27               0              1

                   5              55              2               4              26               0              2

                   6              49              0               1              24               0              0

                   7              48              1               5              24               1              0

                   8              42              0               3              23               0              0

                   9              39              0               0              23               0              0

                  10              39              0               1              23               0              0

                  11              38              1               1              23               0              3

                  12              36              0               1              20               0              3

                  13              35              0               0              17               0              1

                  14              35              0               0              16               0              3

                  15              35              0               1              13               0              2

                  16              34              0               2              11               0              1

                  17              32              0               3              10               0              1

                  18              29              0               3               9               0              1

                  19              26              0               2               8               0              1

                  20              24              0               1               7               0              1

                  21              23              0               1               6               0              1

                  22              22              0               0               5               0              0

                  23              22              0               1               5               0              0

                  24              21              0               1               5               0              0

                  25              20              0               0               5               0              0

                  26              20              0               0               5               0              0

                  27              20              0               0               5               0              0

                  28              20              0               0               5               0              0

                  29              20              0               1               5               0              0

                  30              19              0               0               5               0              0

                  31              19              0               0               5               0              0

                  32              19              0               0               5               0              0




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            33        19         0         0        5         0         0

            34        19         1         0        5         0         0

            35        18         0         0        5         0         0

            36        18         0         1        5         0         0

            37        17         0         0        5         0         0

            38        17         1         1        5         0         0

            39        15         1         0        5         1         0

            40        14         0         0        4         0         0

            41        14         0         0        4         0         0

            42        14         0         0        4         0         0

            43        14         1         0        4         0         0

            44        13         1         0        4         0         1

            45        12         0         1        3         0         0

            46        11         0         1        3         0         0

            47        10         1         0        3         0         0

            48         9         1         0        3         0         0

            49         8         1         0        3         0         0

            50         7         0         0        3         0         0

            51         7         0         0        3         0         0

            52         7         0         0        3         0         0

            53         7         0         0        3         0         0

            54         7         0         2        3         0         0

            55         5         0         1        3         0         0

            56         4         0         0        3         0         1

            57         4         0         0        2         0         0

            58         4         0         0        2         0         1

            59         4         0         0        1         0         1

            60         4         0         0        0         0         0

            61         4         0         0        0         0         0

            62         4         0         0        0         0         0

            63         4         0         0        0         0         0

            64         4         0         0        0         0         0

            65         4         0         1        0         0         0

            66         3         0         0        0         0         0

            67         3         0         1        0         0         0

            68         2         0         0        0         0         0

            69         2         0         2        0         0         0

            70         0         0         0        0         0         0

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422
423   Supplementary Text S1: Sensitivity to PCR threshold.
424
425   In the main text samples positive for a particular virus were identified by an electrical signal intensity of
426   ≥2 nA/mm2 (with the exception of Coronavirus OC43 for which positive results were identified by an
427   intensity of ≥25 nA/mm2, per manufacturer specifications). Here we test the sensitivity of our finding to
428   different choices of the threshold for PCR positivity for all viruses (25 nA/mm2 and 100 nA/mm2).
429
430   Positivity threshold 50nA/mm2 for all infections
431
432   Among all participants enrolled and using a 50nA/mm2 threshold, 73 individuals tested positive at least once
433   during the study for any coronavirus infection. 44 individuals tested positive at least once for OC43, 28 tested
434   positive for 229E, 8 tested positive for NL63, and 24 tested positive for HKU1. In addition, 10 individuals tested
435   positive multiple times during the study for the same coronavirus: 8 tested positive twice for OC43, 2 tested positive
436   twice for HKU1 and nobody tested positive multiple times for 229E and NL63. Among the 8 participants that
437   experienced multiple OC43 infections, 1 individual tested positive 3 separate times, and 7 tested positive twice. The
438   median time between reinfection events was 43 weeks. The shortest time for a reoccurrence of infection was 4
439   weeks (OC43), the longest was 48 weeks (OC43).
440   Figure S1and Figure S2 show, respectively, the probability of testing positive within x weeks after enrollment and
441   the probability of a re-infection with the same beta-coronavirus within x week of a previous documented infection.
442
443
444   Positivity threshold 100nA for all infections
445
446   Among all participants enrolled and using a 100nA/mm2 threshold, 67 individuals tested positives at least once
447   during the study for any coronavirus infection. 40 individuals tested positive at least once for OC43, 21 tested
448   positive for 229E, 6 tested positive for NL63, and 23 tested positive for UKU1. In addition, 8 individuals tested
449   positive multiple times during the study for the same coronavirus: 7 tested positive twice for OC43, 1 tested positive
450   twice for HKU1 and nobody tested positive multiple times for 229E and NL63. The median time between
451   reinfection events was 44.5 weeks. The shortest time for a second infection was 37 weeks (OC43), the longest was
452   48 weeks (OC43). Figure S3 and Figure S4 show, respectively, the probability of testing positive within x weeks
453   after enrollment and the probability of a re-infection with the same beta-coronavirus within x week of a previous
454   documented infection.
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    MS TECH | TWENTY20

    What if immunity to covid-19 doesn’t last?
    Researchers say people can catch mild, cold-causing coronaviruses twice in the same
    year.

•   Antonio Regalado
    April 27, 2020

    Available at: https://www.technologyreview.com/2020/04/27/1000569/how-long-are-people-
    immune-to-covid-19/


    Starting in the fall of 2016 and continuing into 2018, researchers at Columbia University in
    Manhattan began collecting nasal swabs from 191 children, teachers, and emergency workers,
    asking them to record when they sneezed or had sore throats. The point was to create a map of
    common respiratory viruses and their symptoms, and how long people who recovered stayed
    immune to each one.

    The research included four coronaviruses, HKU1, NL63, OC42, and C229E, which circulate
    widely every year but don’t get much attention because they only cause common colds. But now
    that a new coronavirus in the same broad family, SARS-CoV-2, has the world on lockdown,
    information about the mild viruses is among our clues to how the pandemic might unfold.

    What the Columbia researchers now describe in a preliminary report is cause for concern. They
    found that people frequently got reinfected with the same coronavirus, even in the same year,
    and sometimes more than once. Over a year and a half, a dozen of the volunteers tested positive
    two or three times for the same virus, in one case with just four weeks between positive results.

    That’s a stark difference from the pattern with infections like measles or chicken pox, where
    people who recover can expect to be immune for life.

    For the coronaviruses “immunity seems to wane quickly,” says Jeffrey Shaman, who carried out
    the research with Marta Galanti, a postdoctoral researcher.
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   Jeffrey Shaman leads the Virome of Manhattan study at Columbia University, which found
   people are frequently re-infected by the same cold-causing germs. The research shows immunity
   to some coronaviruses is short lived.
   MS TECH | AP PHOTO/MARY ALTAFFER

   Whether covid-19 will follow the same pattern is unknown, but the Columbia results suggest one
   way that much of the public discussion about the pandemic could be misleading. There is talk of
   getting “past the peak” and “immunity passports” for those who’ve recovered. At the same time,
   some hope the infection is more widespread than generally known, and that only a tolerable
   death total stands between us and high enough levels of population immunity for the virus to stop
   spreading.

   All that presumes immunity is long-lived, but what if it is fleeting instead?

   “What I have been telling everyone—and no one believes me, but it’s true—is we get
   coronaviruses every winter even though we’re seroconverted,” says Matthew Frieman, who
   studies the virus family at the University of Maryland. That is, even though most people have
   previously developed antibodies to them, they get the viruses again. “We really don’t understand
   whether it is a change in the virus over time or antibodies that don’t protect from infection,” he
   says.

   Critical factor
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    We’re currently in the pandemic phase. That’s when a new virus, which humans are entirely
    susceptible to, rockets around the planet. And humanity is still a greenfield for covid-19—as of
    April 26, there were about three million confirmed cases, or one in 2,500 people on the planet.
    (Even though the true number of infections is undoubtedly higher, it's still probably only a small
    fraction of the population.) Takeshi Kasai, the World Health Organization's regional director for
    the Western Pacific, recently warned that until a vaccine is available, the world should get ready
    for a “new way of living.”

    More on coronavirus
•   Our most essential coverage of covid-19 is free, including:

    What is herd immunity?
    What is serological testing?
    How does the coronavirus work?
    What are the potential treatments?
    Which drugs work best?
    What's the right way to do social distancing?
    Other frequently asked questions about coronavirus
    ---
    Newsletter: Coronavirus Tech Report
    Zoom show: Radio Corona

•   See also:

    All our covid-19 coverage
    The covid-19 special issue

•   Please click here to subscribe and support our non-profit journalism.

    Further out, though, changes like social distancing or grounding airline flights may not be the
    biggest factor in our fate. Whether or not people acquire immunity to the virus, and for how long,
    will be what finally determines the toll of the disease, some researchers say.

    Early evidence points to at least temporary protection against reinfection. Since the first cases
    were described in China in December, there has been no cut-and-dried case of someone being
    infected twice. While some people, including in South Korea, have tested positive a second time,
    that could be due to testing errors or persistence of the virus in their bodies.

    “There are a lot of people who were infected and survived, and they are walking around, and
    they don’t seem to be getting reinfected or infecting other people,” says Mark Davis, a researcher
    at Stanford University. As of April 26, more than 800,000 people had officially recovered from
    the disease, according to the Johns Hopkins case-tracking dashboard.

    Researchers in China also tested directly whether macaque monkeys resisted a second exposure
    to the new coronavirus. They infected the monkeys with the virus, and then four weeks later,
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   after they recovered, tried again. The second time, the monkeys didn’t develop symptoms, and
   researchers couldn’t find any virus in their throats.

   What’s unknown is how long immunity lasts—and only five months into the outbreak, there is
   no way to know. If it’s for life, then every survivor will add to a permanent bulwark against the
   pathogen’s spread. But if immunity is short, as it is for the common coronaviruses, covid-19
   could set itself up as a seasonal superflu with a high fatality rate—one that emerges in a nasty
   wave winter after winter.

   The latest computer models of the pandemic find that the duration of immunity will be a key
   factor, and maybe the critical one. One model, from Harvard University and published in
   Science, shows the covid-19 virus becoming seasonal—that is, staging a winter resurgence every
   year or two as immunity in the population builds up and then ebbs away.

   After testing different scenarios, the Harvard group concluded that their projections of how many
   people end up getting covid-19 in the coming years depended “most crucially” on “the extent of
   population immunity, whether immunity wanes, and at what rate.” In other words, the critical
   factor in projecting the path of the outbreak is also a total unknown.

   Seasonal virus

   Because so many other human coronaviruses are mild, they haven’t gotten the same attention as
   influenza, a shape-shifting virus that is closely followed and genetically analyzed to create a new
   vaccine each year. But it’s not even known, for instance, whether the common coronaviruses
   mutate in ways that let them evade the immune system, or whether there are other reasons
   immunity is so short-lived.

   “There is no global surveillance of coronavirus,” says Burtram Fielding, a virologist at the
   University of the Western Cape, in South Africa, who tracks scientific reports in the field. “Even
   though the common cold costs the US $20 billion a year, these viruses don’t kill, and anything
   that does not kill, we don’t have surveillance for.”

   The Global Virome Project in Manhattan, led by Shaman with funding from the Defense
   Department, has been an exception. It set out to detect respiratory viruses with the eventual aim
   of “nowcasting,” or having a live tracker on common infections circulating in the city.

   One finding of the research is that people who got the same coronavirus twice didn’t have fewer
   symptoms the second time. Instead, some people never got symptoms at all; others had bad colds
   two or three times. Shaman says the severity of infection tended to run in families, suggesting a
   genetic basis.

   The big question is what this fizzling, short-lived resistance to common cold viruses means for
   covid-19. Is there a chance the disease will turn into a killer version of the common cold,
   constantly out there, infecting 10% or 20% of the population each year, but also continuing to
   kill one in a hundred? If so, it would amount to a plague capable of shaving the current rate of
   world population growth by a tenth.
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   Some scientists find the question too dark to contemplate. Shaman didn’t want to guess at how
   covid-19 will behave either. “Basically, we have some unresolved questions,” he wrote in an
   email. “Are people one and done with this virus? If not, how often will we experience repeat
   infections? Finally, will those repeat infections be milder, just as severe, or even worse?”

   Immune surveys

   Big studies of immunity are already under way to try to answer those questions. Germany has
   plans to survey its population for antibodies to the virus, and in North America, 10,000 players
   and other employees of Major League Baseball are giving pinprick blood samples for study. In
   April, the US National Institutes of Health launched the COVID-19 Pandemic Serum Sampling
   Study, which it says will collect blood from 10,000 people, too.

   By checking for antibodies in people’s blood, such serosurveys can determine how many people
   have been exposed to the virus, including those who had no symptoms or only mild ones.

   Researchers will also be scavenging through the blood of covid-19 cases in order to measure the
   nature and intensity of immune responses, and to figure out if there’s a connection to how sick
   people got. “What we are seeing right now with the coronavirus is the need for immune
   monitoring, because some people are shrugging this off and others are dying,” Davis says. “The
   gradient is serious and no one really understands why.”

   Our immune system has different mechanisms for responding to germs we’ve never seen before.
   Antibodies, made by B cells, coat a virus and don’t let it infect cells. T cells, meanwhile, regulate
   the immune response or destroy infected cells. Once an infection is past, long-term “memory”
   versions of either type of cell can form.

   What sort of immune memory will covid-19 cause? Stephen Elledge, a geneticist at Harvard
   University says the severity of the disease could put it in a different category from the ordinary
   cold. “You might have a cold for a week, whereas if you go through three weeks of hell, that
   may give you more of a memory for longer,” he says.

   Other clues come from the 2002-03 outbreak of SARS, a respiratory infection even more deadly
   than covid-19. Six years after the SARS outbreak, doctors in Beijing went hunting for an
   immune response among survivors. They found no antibodies or long-lived memory B cells,
   but they did find memory T cells.

   Because doctors managed to stop the SARS outbreak after about 8,000 cases, there’s never been
   a chance for anyone to get infected a second time, but those T cells could be a sign of ongoing
   immunity. A later vaccine study in mice found that memory T cells protected the animals from
   the worst effects when scientists tried infecting them again with SARS.

   To Frieman, at the University of Maryland, all this uncertainty about immune response to
   coronaviruses means there’s still little chance of predicting when, or how, the outbreak ends. “I
   don’t know when this goes away, and if anyone says they know, they don’t know what they are
   talking about,” he says.
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                              Exhibit R
                       (WHO Immunity Passports)
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                              Exhibit S
                    (JAMA, Post-Infection Immunity)
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                Opinion Viewpoint



                immunity and reexposure to genetically distinct forms of the                             Serological assays to detect SARS-CoV-2 antibodies are rapidly
                same viral strain.                                                                 becoming available and will be critical to estimate the prevalence
                     To date, no human reinfections with SARS-CoV-2 have been con-                 of infections, including those that are asymptomatic. However,
                firmed. Evidence of reinfection typically requires culture-based docu-             it is presently premature to use such assays to determine whether
                mentation of a new infection following clearance of the preceding                  individuals are immune to reinfection. Performance standards,
                infection or evidence of reinfection with a molecularly distinct form              including sensitivity and specificity, for the burgeoning number of
                of the same virus. In one report, among 2 otherwise healthy indi-                  serologic assays and the potential for cross-reactivity with other
                viduals who had recovered from COVID-19 and had 2 or more se-                      coronaviruses (yielding false-positives) have yet to be determined.
                quentially polymerase chain reaction (PCR)–negative upper respi-                   Widespread testing of persons who have not had COVID-19, a
                ratory specimens at least 24 hours apart, SARS-CoV-2 RNA was                       population with low SARS-CoV-2 prevalence, can generate more
                detected again in throat swabs sporadically for up to 10 days.8 SARS-              false-positives than true-positives. This phenomenon may compli-
                CoV-2 RNA has also been detected in throat or nasopharyngeal swabs                 cate clinical and epidemiologic interpretation of results, especially if
                more than 20 days after negative test results.9 In another report                  the serologic tests do not have high specificity or some form of
                among 18 patients, viral burdens (as determined by PCR cycle thresh-               confirmatory testing is not used. More fundamentally, it remains to
                old) were generally lower than, and had declined substantially from,               be determined whether a robust IgG response corresponds with
                values during peak of illness.10 At the time of postrecovery positive              immunity. Well-designed longitudinal cohort studies of persons
                test results, the patients described in these reports had few, if any,             who recovered from COVID-19 are needed to monitor for signs and
                symptoms, and when radiographically examined, they demon-                          symptoms of recurrent illness. Such longitudinal studies could also
                strated stable or improving pneumonia.8,10 There is also no evi-                   document possible reexposure events, all linked with clinical and
                dence at present that such persons transmitted SARS-CoV-2 to oth-                  laboratory investigations of other alternate etiologies, serologic
                ers after they had clinically recovered. However, this possibility of              testing, attempts to isolate virus by culture, and viral genomic com-
                transmission cannot be ruled out, especially for persons who may                   parisons of isolated viral specimens. However, in the short-term,
                be predisposed to prolonged shedding of other pathogens, such as                   possible recurrences of infection can be identified by monitoring
                due to immunocompromised states.                                                   surveillance data and by requesting clinicians and public health
                     It is also possible these cases represent persistent or recrudes-             authorities to report and investigate cases of possible recurrence to
                cent COVID-19 illness or even true reinfection. On the other hand,                 determine whether recurrence can be confirmed.
                these cases may also represent prolonged sporadic viral RNA shed-                        In summary, existing limited data on antibody responses to
                ding at or near the limit of assay detection or variation in collection            SARS-CoV-2 and related coronaviruses, as well as one small animal
                technique, specimen handling, or storage conditions affecting test                 model study, suggest that recovery from COVID-19 might confer
                performance. Data to effectively differentiate these possibilities are             immunity against reinfection, at least temporarily. However, the im-
                lacking, highlighting an area of substantial uncertainty. Routine col-             mune response to COVID-19 is not yet fully understood and defini-
                lection of such data, specifically viral burden (as measured by PCR                tive data on postinfection immunity are lacking. Amidst the uncer-
                assay cycle threshold) and viral culture, and from a larger sample of              tainty of this public health crisis, thoughtful and rigorous science will
                patients under standard protocols, is needed.                                      be essential to inform public health policy, planning, and practice.


                ARTICLE INFORMATION                                    saliva samples and serum antibody responses            Clinical Virology. 5th ed. John Wiley & Sons Ltd;
                Published Online: May 11, 2020.                        during infection by SARS-CoV-2: an observational       2004:379-397. doi:10.1002/0470020970.ch10
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                Conflict of Interest Disclosures: None reported.
                                                                       4. Wu L-P, Wang N-C, Chang Y-H, et al. Duration of     detection in two medical staff recovered from
                Disclaimer: The findings and conclusions in this       antibody responses after severe acute respiratory      coronavirus disease 2019 (COVID-19), China,
                report are those of the authors and do not             syndrome. Emerg Infect Dis. 2007;13(10):1562-1564.     January to February 2020. Euro Surveill. 2020;25(10).
                necessarily represent the official views of the        doi:10.3201/eid1310.070576                             doi:10.2807/1560-7917.ES.2020.25.10.2000191
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                COVID-2019. Nature. Published online April 1, 2020.    7. Cavanaugh D. Coronaviruses and toroviruses. In:
                                                                       Zuckerman AJ, Banatvala JE, Pattinson JR, Griffiths    JAMA. 2020;232(15):1488-1494. doi:10.1001/jama.
                doi:10.1038/s41586-020-2196-x                                                                                 2020.3204
                                                                       PD, Schoub BD, eds. Principles and Practice of
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                profiles of viral load in posterior oropharyngeal




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                              Exhibit T
                  (OSTP, Rapid Expert Consultation)
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Rapid Expert Consultation on SARS CoV 2 Viral Shedding and Antibody Response for the COV D 19 Pandemic (April 8 2020)




                Rapid Expert Consultation on SARS-CoV-2 Viral Shedding and
                Antibody Response for the COVID-19 Pandemic (April 8, 2020)


                April 8, 2020

                Kelvin Droegemeier, Ph.D.
                Office of Science and Technology Policy
                Executive Office of the President
                Eisenhower Executive Office Building
                1650 Pennsylvania Avenue, NW
                Washington, DC 20504

                Dear Dr. Droegemeier:

                Attached please find a rapid expert consultation in response to your request concerning (1) the
                duration of viral shedding by stage of infection, clinical signs and symptoms, and patient
                attributes; (2) the levels and duration of antibody response and related resistance to illness; and
                (3) the optimal duration of isolation of cases.

                Members of the National Academies of Sciences, Engineering, and Medicine’s Standing
                Committee on Emerging Infectious Diseases and 21st Century Health Threats who were
                instrumental in preparing this response include Peter Daszak, EcoHealth Alliance; Diane E.
                Griffin, Johns Hopkins Bloomberg School of Public Health; Kent E. Kester, Sanofi Pasteur; and
                Mark S. Smolinski, Ending Pandemics.

                This document stresses what is known and what are the most salient questions yet to be answered
                to guide critical decisions related to the duration of isolation of infected patients, the potential
                effectiveness of a vaccine, and when we can be confident that previously infected patients are
                resistant to re-infection.

                My colleagues and I hope this input is helpful to you as you continue to guide the nation’s
                response in this ongoing public health crisis.

                Respectfully,
                Harvey V. Fineberg, M.D., Ph.D.
                Chair
                Standing Committee on Emerging Infectious Diseases and 21st Century Health Threats




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Rapid Expert Consultation on SARS CoV 2 Viral Shedding and Antibody Response for the COV D 19 Pandemic (April 8 2020)




                This rapid expert consultation responds to your request concerning (1) the duration of viral
                shedding by stage of infection, clinical signs and symptoms, and patient attributes; (2) the levels
                and duration of antibody response and related resistance to illness; and (3) the optimal duration
                of isolation of cases.

                Our intent is to answer three questions in response to each issue:

                         What is the relevant scientific evidence and state of current scientific knowledge?
                         Who is doing the best work in the area and what new results can we anticipate?
                         Gaps in knowledge: What investigations should be initiated or extended to provide a
                         more complete answer?

                Shedding of infectious virus from the respiratory tract tends to be highest early in disease. This is
                followed by a prolonged period of viral RNA shedding, but the extent to which this represents
                infectious virus is uncertain. 1 In addition, the role of shedding from the gastrointestinal tract in
                transmission is unclear. Antibody responses begin to appear over a period of days to weeks after
                infection. Studies of SARS and MERS survivors suggest that antibody responses for SARS-
                CoV-1 and MERS-CoV are not durable. 2,3,4 Further investigation is needed to understand the
                duration of protective immunity for SARS-CoV-2. The groups referenced in this rapid expert
                consultation are continuing to produce work in these areas. We anticipate that additional studies
                based on cases coming out of the United States and Europe will provide further information on
                these critical topics.

                (1) The duration of viral shedding by stage of infection, clinical signs and symptoms, and
                patient attributes.

                Viral shedding has been assessed and detected by culture, but most often by reverse-transcriptase
                polymerase chain reaction (RT-PCR) for viral RNA. 5 RNA can be detected from infectious virus
                or from remnants of virus that are no longer infectious. In a patient recovering from an illness
                who was previously PCR positive, at least two sequential negative tests for viral RNA is a
                reasonable indicator of when infectious virus is no longer being shed. Most studies have
                analyzed respiratory secretions (throat and/or nasopharyngeal samples), but stool samples are
                also often positive for RNA later in the course of the infection while other sites (e.g., blood,
                urine, tears, vaginal secretions) are usually negative. These data are likely to be important for the
                understanding of routes and periods of transmission.



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                  Joynt and Wu. 2020. Understanding COVID-19: What does viral RNA load really mean? The Lancet Infectious
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                  Alshukairi et al. 2016. Antibody response and disease severity in healthcare worker MERS survivors. Emerging
                Infectious Diseases 22(6):1113-1115. https://dx.doi.org/10.3201/eid2206.160010.
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                respiratory syndrome. The Journal of Infectious Diseases 193(6):792-795.
                4
                  Wu et al. 2007. Duration of antibody responses after severe acute respiratory syndrome. Emerging Infectious
                Diseases 13(10):1562-1564. DOI: 10.3201/eid1310.070576.
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Rapid Expert Consultation on SARS CoV 2 Viral Shedding and Antibody Response for the COV D 19 Pandemic (April 8 2020)




                It is not uncommon for viral shedding in respiratory secretions to occur 2-3 days prior to first
                symptoms. 6,7,8 Higher amounts of virus and viral RNA are seen early in infection independent of
                severity of symptoms with sputum and nasopharyngeal samples more likely to be positive than
                throat swab samples. 9,10,11,12,13 More severe clinical disease is associated with longer persistence
                of viral RNA shedding and may represent a significant occupational transmission risk for health
                care workers. 14,15 Viral RNA shedding for up to a week after the resolution of symptoms is
                common and in one case has been documented to continue for as long as 49 days although this
                viral RNA may not represent infectious virus. 16,17,18,19 No differences in these parameters have
                been detected based on age or sex.

                In addition, gastrointestinal symptoms may be common and viral RNA is frequently detected in
                stool. Viral RNA persists in stool after symptoms have subsided for longer than in samples from




                6
                  He. 2020. Temporal dynamics in viral shedding and transmissibility of COVID-19. medRxiv.
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                   Zou et al. 2020. SARS-CoV-2 viral load in upper respiratory specimens of infected patients. New England
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Rapid Expert Consultation on SARS CoV 2 Viral Shedding and Antibody Response for the COV D 19 Pandemic (April 8 2020)




                the respiratory tract, but a role in transmission is unclear. 20,21,22,23,24 In a recent report infectious
                virus was readily isolated from respiratory samples, but not from stool samples. 25

                Gaps in knowledge:

                         Effect of various treatments on length of shedding.
                         Epidemiologic evidence of transmission while RT-PCR positive after recovery.
                         Significance of viral RNA shedding after resolution of symptoms.
                         Importance of shedding from non-respiratory sites.
                         Innovative assays to determine if the virus is infectious.

                (2) Levels and duration of antibody response and related resistance to illness.

                The time of antibody detection after infection is dependent on the sensitivity of the assay and the
                viral protein used as antigen. IgM can be detected by enzyme immunoassay to nucleoprotein 3-6
                (median 5) days after onset of symptoms and has been used to complement RT-PCR for
                diagnosis of COVID-19. 26,27 IgG to the same protein is detected 10-18 (median 14) days after the
                onset of symptoms. 28 Anti-nucleoprotein antibody did not correlate with virus clearance 29 and a
                higher antibody titer was independently associated with more severe disease. 30 Antibody to the
                receptor-binding domain of the spike protein was detected a median of 11 days after the onset of
                symptoms, but the timing of seroconversion did not correlate with clinical course. 31,32



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                24
                   During the SARS epidemic in Hong Kong in 2003, the virus was spread in an apartment complex (Amoy
                Gardens) due to aerosolized waste flushed from toilets that found its way into the air of other apartments through
                poorly designed bathroom floor drains.
                25
                   Wölfel et al. 2020. Virological assessment of hospitalized patients with COVID-2019. Nature.
                https://doi.org/10.1038/s41586-020-2196-x.
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                The duration of the antibody response and acquired immunity to re-infection will be critical to
                understanding (1) how effective vaccination is likely to be; (2) how durable immunity is; (3)
                whether it is possible to achieve herd immunity against COVID-19; and (4) how safe it is for
                people who are positive in a serology test to return to work. One key uncertainty arises from the
                fact that we are early in the outbreak and survivors from the first weeks of infection in China are,
                at most, only 3 months since recovery. Some lessons may be gleaned from evidence about the
                duration of antibody responses to SARS-CoV and MERS-CoV, which are related viruses.
                Studies of patients who recovered from the SARS outbreak in 2003 show a steady decrease in
                amounts of antiviral binding IgG over time with 12% negative at 2 years and 50% at 3 years. 33,34
                Similarly, health care workers with mild to moderate MERS-CoV infection had no detectable
                antiviral binding IgG 18 months after recovery. 35 The response to SARS-CoV-2 is likely to be
                similar to this closely related virus. Longitudinal data from the large numbers of recovered cases
                in China from earlier in the outbreak may give us insight into the temporal dynamics of antibody
                titers to this virus.

                Gaps in knowledge:

                         Evaluation of whether the presence of antibodies confers protection from illness due to
                         re-infection, and if so, what levels of antibodies are needed.
                         A better understanding of the role of specific antibodies will inform possible therapy with
                         immune plasma and the development of monoclonal antibodies for potential treatment, as
                         well as vaccine design.
                         Following antibody titers in cohorts of patients with mild, moderate, severe, and critical
                         COVID-19 disease will be revealing. This would best be done in multiple geographies,
                         with diverse age classes, ethnic background, etc.
                         Evidence of waning antibody titer can be anticipated after 2 years, but any indication of
                         earlier significant drop in titers per age class or other grouping would be very important
                         to identify because it might affect vaccine efficacy, the ability of these people to be re-
                         infected and the potential for disease attenuation with an anamnestic response.

                (3) Optimal duration of isolation of cases.

                Because many patients continue to be RT-PCR positive for viral RNA in both respiratory
                secretions and stool, this is a difficult question that will best be informed by observational studies
                of transmission from discharged patients with known status for viral RNA by RT-PCR. Waiting
                for all tests to be repeatedly negative is the most conservative approach, but may result in
                prolonged unnecessary isolation. Assessment of humoral and cellular immune response may also
                be informative. Current Centers for Disease Control and Prevention recommendations are that
                patients are no longer infectious after 7 days of illness and 3 days without symptoms.


                33
                   Liu et al. 2006. Two-year prospective study of the humoral immune response of patients with severe acute
                respiratory syndrome. The Journal of Infectious Diseases 193(6):792-795.
                34
                   Wu et al. 2007. Duration of antibody responses after severe acute respiratory syndrome. Emerging Infectious
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                Gaps in knowledge:

                         Duration of shedding of infectious virus by recovered patients and the relationship to the
                         detection of viral RNA.
                         Knowledge of immune mechanisms responsible for virus clearance that might predict
                         recovery and help determine when patients are no longer infectious.
                         Immune correlates of protection.
                         Duration of protective immunity.

                                                                     APPENDIX

                                     Authors and Reviewers of This Rapid Expert Consultation

                This rapid expert consultation was prepared by staff of the National Academies of Sciences,
                Engineering, and Medicine, and members of the National Academies’ Standing Committee on
                Emerging Infectious Diseases and 21st Century Health Threats: Peter Daszak, EcoHealth
                Alliance; Diane E. Griffin, Johns Hopkins Bloomberg School of Public Health; Kent E. Kester,
                Sanofi Pasteur; and Mark S. Smolinski, Ending Pandemics.

                Harvey Fineberg, chair of the Standing Committee, approved this document. The following
                individuals served as reviewers: Kathryn M. Edwards, Vanderbilt University School of
                Medicine; James W. LeDuc, Galveston National Laboratory; and Steven M. Teutsch, University
                of California, Los Angeles. Bobbie A. Berkowitz, Columbia University School of Nursing, and
                Ellen Wright Clayton, Vanderbilt University Medical University, served as arbiters of this
                review on behalf of the National Academies’ Report Review Committee and their Health and
                Medicine Division.




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                              Exhibit U
                       (CD&D, COVID-19 infection)
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                              Exhibit V
        (The Lancet, Cancer patients in SARS-CoV-2 infection)
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                             Exhibit W
       (Mayo Clinic, Lymphocytic Leukemia Immunodeficiency)
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                              Exhibit X
            (Declaration of Dr. Samra, 20-cv-4451, C.D. Cal.)
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